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                                                             GIGANEWS, INC., and
                                                           9 LIVEWIRE SERVICES, INC.
                                                          10                       UNITED STATES DISTRICT COURT
                                                          11                     CENTRAL DISTRICT OF CALIFORNIA
                                                          12                              WESTERN DIVISION
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13 PERFECT 10, INC., a California
                                          SAN FRANCISCO




                                                                                                   Case No.: 11-cv-07098-ABC (SHx)
                                                             corporation,
                                                          14                                       DISCOVERY MATTER
                                                                             Plaintiff,            Before Hon. Stephen J. Hillman
                                                          15
                                                                    v.                             JOINT STIPULATION
                                                          16                                       REGARDING [PROPOSED]
                                                             GIGANEWS, INC., a Texas Corporation; SECOND AMENDED ORDER
                                                          17 LIVEWIRE SERVICES, INC., a Nevada GRANTING DEFENDANTS
                                                             corporation; and DOES 1 through 100,  GIGANEWS, INC. AND
                                                          18 inclusive,                            LIVEWIRE SERVICES, INC.’S
                                                                                                   MOTION TO COMPEL
                                                          19                 Defendants.           DISCOVERY COMPLIANCE
                                                                                                   FROM THIRD-PARTY
                                                          20                                       WITNESSES
                                                             GIGANEWS, INC., a Texas Corporation;
                                                          21 LIVEWIRE SERVICES, INC., a Nevada Discovery Cut-off: June 30, 2014
                                                             Corporation,                          Pretrial Conference: January 19, 2015
                                                          22                                       Trial Date:          January 27, 2015
                                                                             Counterclaimants,
                                                          23
                                                                    v.
                                                          24
                                                             PERFECT 10, INC., a California
                                                          25 Corporation,
                                                          26                 Counterdefendant.
                                                          27
                                                          28
                                                               JOINT STIPULATION REGARDING                       CASE NO. 11-cv-07098-ABC (SHx)
                                                               [PROPOSED] SECOND AMENDED ORDER
                                          Case 2:11-cv-07098-AB-JPR Document 341 Filed 07/07/14 Page 2 of 3 Page ID #:14476



                                                           1         Defendants GIGANEWS, INC., and LIVEWIRE SERVICES, INC.
                                                           2 (“Defendants”), Plaintiff PERFECT 10, INC. (“Plaintiff”), and Gwendalyn
                                                           3 Augustine (“Augustine”), Jennifer McCall (“McCall”), Sean Chumura
                                                           4 (“Chumura”), Melanie Poblete (“Poblete”), Szabolcs Apai (“Apai”), and Eileen
                                                           5 Koch (“Koch”) (collectively, the “Third-Party Witnesses”) hereby stipulate as
                                                           6 follows and request a confirming Order of the Court:
                                                           7                                   STIPULATION
                                                           8         WHEREAS, on June 5, 2014, the Court entered Dkt. 312, the “ORDER
                                                           9 GRANTING DEFENDANTS GIGANEWS, INC. AND LIVEWIRE SERVICES,
                                                          10 INC.’S MOTION TO COMPEL DISCOVERY COMPLIANCE FROM THIRD-
                                                          11 PARTY WITNESSES” (the “June 5, 2014 Order”).
                                                          12         WHEREAS, on June 16, 2014, the Court subsequently entered Dkt. 318, the
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13 “AMENDED ORDER GRANTING DEFENDANTS GIGANEWS, INC. AND
                                          SAN FRANCISCO




                                                          14 LIVEWIRE SERVICES, INC.’S MOTION TO COMPEL DISCOVERY
                                                          15 COMPLIANCE FROM THIRD-PARTY WITNESSES” (the “Amended Order”).
                                                          16         WHEREAS, on June 27, 2014, the Court entered Civil Minutes (Dkt. 338)
                                                          17 directing counsel to “meet and confer, and then jointly lodge a Second Amended
                                                          18 Order which tracked the court’s original [June 5, 2014 Order] (deferring
                                                          19 sanctions).”
                                                          20         NOW, THEREFORE, IT IS HEREBY STIPULATED by the Parties and
                                                          21 Third-Party Witnesses through their counsel of record as follows:
                                                          22 / / /
                                                          23 / / /
                                                          24 / / /
                                                          25 / / /
                                                          26 / / /
                                                          27 / / /
                                                          28 / / /
                                                               JOINT STIPULATION REGARDING             1              CASE NO. 11-cv-07098-ABC (SHx)
                                                               [PROPOSED] SECOND AMENDED ORDER
                                          Case 2:11-cv-07098-AB-JPR Document 341 Filed 07/07/14 Page 3 of 3 Page ID #:14477



                                                           1     1. The Parties and Third-Party Witnesses request that the Court enter the
                                                           2         “[PROPOSED] SECOND AMENDED ORDER GRANTING
                                                           3         DEFENDANTS GIGANEWS, INC. AND LIVEWIRE SERVICES, INC.’S
                                                           4         MOTION TO COMPEL DISCOVERY COMPLIANCE FROM THIRD-
                                                           5         PARTY WITNESSES” submitted herewith.
                                                           6
                                                           7 Dated: July 7, 2014
                                                                                                  FENWICK & WEST, LLP
                                                           8
                                                           9
                                                                                                    By /s/ Joseph S. Belichick
                                                          10                                          Joseph S. Belichick
                                                          11                                      Attorneys for Defendants
                                                                                                  GIGANEWS, INC. and LIVEWIRE
                                                          12                                      SERVICES, INC.
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13 Dated: July 7, 2014
                                          SAN FRANCISCO




                                                                                                  PERFECT 10, INC.
                                                          14
                                                          15                                       By /s/ David N. Schultz
                                                                                                     David N. Schultz
                                                          16
                                                                                                  Attorneys for Plaintiff
                                                          17                                      PERFECT 10, Inc.
                                                          18
                                                          19                                    ATTESTATION
                                                          20         I hereby attest that the concurrence in the filing of this document has been
                                                          21 obtained from the signatory indicated by a “conformed” signature (/s/) within this
                                                          22 e-filed document.
                                                          23                                           /s/ Joseph S. Belichick____
                                                          24                                                 Joseph S. Belichick

                                                          25
                                                          26
                                                          27
                                                          28
                                                               JOINT STIPULATION REGARDING               2               CASE NO. 11-cv-07098-ABC (SHx)
                                                               [PROPOSED] SECOND AMENDED ORDER
